                                    UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                        Case 22-19284-CLC                    Doc 50           Filed 10/29/23    Page 1 of 3
                                                                        www.flsb.uscourts.gov
                                                            CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                                         Original Plan
                              ■   3rd                                          Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                               Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Maria Lucia Perez                                     JOINT DEBTOR:                                        CASE NO.: 22-19284 BKC CLC
     SS#: xxx-xx- 6397                                               SS#: xxx-xx-
     I.          NOTICES
                 To Debtors:            Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                        modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                        Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                        the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                        be reduced, modified or eliminated.
                 To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                     on each line listed below in this section to state whether the plan includes any of the following:
       The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                             Included            ■   Not included
       partial payment or no payment at all to the secured creditor
       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                             Included            ■   Not included
       out in Section III
       Nonstandard provisions, set out in Section IX                                                                         Included            ■   Not included
    II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

                A.       MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.   $168.79                    for months   1       to 9      ;

                        2.   $300.00                    for months 10 to 60 ;

                B. DEBTOR(S)' ATTORNEY'S FEE:                                                     NONE         PRO BONO
             Total Fees:                $4,650.00               Total Paid:                $1,687.00       Balance Due:           $2,963.00
             Payable              $49.39            /month (Months 1           to 60 )
             Allowed fees under LR 2016-l(B)(2) are itemized below:
             Safe Harbor $4,500.00 Attorney's Fees + 150.00 Costs = $4,650.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS                                   NONE
                A. SECURED CLAIMS:                      ■   NONE
                B. VALUATION OF COLLATERAL:                           ■      NONE
                C. LIEN AVOIDANCE                   ■   NONE
                D. SURRENDER OF COLLATERAL:                              ■    NONE
                E. DIRECT PAYMENTS                            NONE
                Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                    confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                    codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.



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                                                                             Debtor(s): Maria Lucia Perez                     Case number: 22-19284 BKC CL

                             Name of Creditor                 Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             PNC Bank                         6011                         3530 NW 215 Street, Miami Gardens, Florida
                        1.
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                     NONE
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: ■ NONE
            B. INTERNAL REVENUE SERVICE:                            ■   NONE
            C. DOMESTIC SUPPORT OBLIGATION(S): ■ NONE
            D. OTHER:               ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                                 NONE
               A. Pay               $102.52       /month (Months        1    to 9 )
                    Pay             $220.61       /month (Months 10          to 60 )
                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.            If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                        ■   NONE
VI.         STUDENT LOAN PROGRAM                          ■   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                          ■   NONE
VIII.       INCOME TAX RETURNS AND REFUNDS:
                    ■        The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                             annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                             Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                             provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                             increases by more than 3% over the previous year’s income. [Miami cases]
IX.         NON-STANDARD PLAN PROVISIONS                            ■   NONE


                         PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                 Debtor       10-24-2023                                              Joint Debtor
  Maria Lucia Perez                                                  Date                                                                    Date




                                                                    Date
     Attorney with permission to sign on
     Debtor(s)' behalf who certifies that
      the contents of the plan have been
        reviewed and approved by the
                 Debtor(s).1

   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph IX.




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1This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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